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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )        CR. NO. 2:21-CR-49-MHT-JTA-3
                                            )
WILLIAM RICHARD CARTER, JR.                 )

                              MOTION TO DISMISS COUNT

       Comes now the United States of America, by and through Verne H. Speirs, Attorney for

the United States Acting Under Authority Conferred by 28 U.S.C. § 515, and files this motion to

dismiss with prejudice Count 70 in the indictment.

       Respectfully submitted, this 14th day of February, 2022.

                                                     VERNE H. SPEIRS
                                                     ATTORNEY FOR THE UNITED STATES
                                                     ACTING UNDER AUTHORITY
                                                     CONFERRED BY 28 U.S.C. § 515

                                                     /s/Jonathan S. Ross
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                                                     /s/Alice S. LaCour
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Case 2:21-cr-00049-MHT-JTA Document 260 Filed 02/14/22 Page 2 of 3




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                       IN THE UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                    )
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               v.                           )       CR. NO. 2:21-CR-49-MHT-JTA-3
                                            )
WILLIAM RICHARD CARTER, JR.                 )

                               CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2022, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record.

                                                    Respectfully submitted,

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